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Plaintiff,
v. No. 03-20327-B/P
TONY SEA,

Defendant.

 

ORDER DENYING DEFENDANT’S MOTION FOR
RELEASE FROM CUSTODY PENDING TRIAL

 

Before the Court is the June 21, 2005 motion for release from custody pending trial by the
Defendant, Tony Sea. However, the Defendant does not present any new information which he
claims was not known at the time of the earlier bond hearing and which had a material bearing on
the issue of his release. § 18 U. S.C. § 3142(f). At the Defendant’s detention hearing on September
22, 2003, Magistrate Judge Tu M. Pharn concluded that under § 3142(i) “[n]o condition or
combination of conditions of release [would] reasonably assure the appearance of the defendant as
required or the safety of any other person and the community.” (Order of Detention Pending Trial
at l (quoting 18 U.S.C. § 3142(f)).) Moreover, Sea’s trial is currently scheduled for July 5, 2005,
less than two weeks away. Accordingly, as the Defendant has not presented any additional basis
suggesting that he should now be released, the Court DENIES his motion.

IT IS SO ORDERED this?__ day of une, 2005.

      
  
 

 

this document entered on the docket ~

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with Fiule 55 and/or 32(b) FRCrP on

ISTATES DISTRICT IUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
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Honorable .l. Breen
US DISTRICT COURT

